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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

TERRE HAUTE DIVISION ~>1-': z §°iel.=-` ‘~ 31 §§
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
V. ) Cause No.
)
) \
RYANKEEN, ) 2 13'¢1"' NW§ JMS -MJD
)
Defendant. )
INDICTMENT
M

(Felon in possession of a firearm in violation of 18 U.S.C. § 922(g)(1))

The Grand Jury charges that:

On or about January 5, 2018, in the Southern District of lndiana, Terre Haute Division,
RYAN KEEN, the defendant herein, did knowingly possess in and affecting commerce, a
firearm, to Wit: one Winchester Model 370 20- gauge shotgun, after having been convicted on or
about November 20, 2012, of Operating a Vehicle While Intoxicated, a felony offense
punishable by imprisonment for a term exceeding one year, in Parke County, lndiana, Cause
Number 61C01-1209-FD-251, in violation of Title 18, United States Code, Section 922(g)(l).

MM

l. The allegations of this indictment are realleged as if fully set forth here, for the
purpose of giving the defendant notice of the United States’s intent to seek forfeiture of property
as part of any sentence imposed in accordance With Title 18, United States Code, Section 924,
and Title 28, United States Code, Section 2461(0).

2. lf convicted of the offense set forth in this indictment, RYAN KEEN, the

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defendant herein, shall forfeit to the United States any firearm involved in or used in the offense

set forth in this indictment

A TRUE BILL:

FOREPERSO

J osh J. Minkler
United States Attomey

     

 

illiam L. McCosV
Assistant United S, es Attorney

